                        THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


                            Civil Action No.: 3:18-cv-00436-MOC-DSC


DANA DAVIS, individually and on
behalf of all others similarly situated,

                    Plaintiff,

        vs.                                             AMENDED ANSWER AND
                                                     COUNTERCLAIM OF DEFENDANT
EQUIFAX INFORMATION                                 WYNDHAM RESORT DEVELOPMENT
SERVICES, LLC, KROSS,                                      CORPORATION
LIEBERMAN & STONE, INC.,
CREDIT SOLUTIONS CORPORATION
and WYNDHAM RESORT
DEVELOPMENT CORPORATION,
d/b/a WORLDMARK BY WYNDHAM,

                    Defendants.



        Defendant Wyndham Resort Development Corporation (“Wyndham”), by and through its

undersigned counsel, and amending its Answer pursuant to Rule 15 of the Federal Rules of Civil

Procedure to assert a Counterclaim pursuant to Rule 13 of the Federal Rules of Civil Procedure,

alleged and says as follows:

                                            FIRST DEFENSE

        With respect to the specific allegations contained in the Complaint, Wyndham responds

as follows:

                                           As to “Introduction”

        1.      The content of Paragraph 1 of the Complaint does not contain any allegations that

pertain to this answering Defendant. Therefore, no response is required. To the extent that




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Plaintiff claims that he is a victim of identity theft with respect to a transaction involving

Wyndham, any such allegation is denied.

       2.      Answering Paragraph 2 of the Complaint, it is admitted that the Fair Credit

Reporting Act, 15 U.S.C. § 1681, et seq., as amended (the “FCRA”), is a statute, the content of

which speaks for itself. Except as admitted, Paragraph 2 of the Complaint is denied.

       3.      Answering Paragraph 3 of the Complaint, it is admitted upon information and

belief that Defendant Equifax Information Services, LLC (“Equifax”), has reported an account

with Wyndham on Plaintiff’s credit report. Further answering Paragraph 3 of the Complaint, it is

denied that Plaintiff is a victim of identity theft with respect to a transaction involving

Wyndham. The remainder of Paragraph 3 of the Complaint is denied for lack of knowledge or

information sufficient to form a belief.

       4.      Answering Paragraph 4 of the Complaint, it is denied that Plaintiff’s account with

Wyndham was opened by an “identity thief,” or that Plaintiff is a victim of identity theft with

respect to a transaction involving Wyndham. The remainder of Paragraph 4 of the Complaint is

denied for lack of knowledge or information sufficient to form a belief.

       5.      Answering Paragraph 5 of the Complaint, it is denied that Plaintiff’s account with

Wyndham is fraudulent. The remainder of the allegations contained in Paragraph 5 do not

pertain to Wyndham and no response is required. To the extent that a response is required, the

remaining allegations contained in Paragraph 5 of the Complaint are denied for lack of

knowledge or information sufficient to form a belief.

       6.      Answering Paragraph 6 of the Complaint, it is admitted that Plaintiff purports to

bring claims against the Defendants, including Wyndham, under the FCRA. Wyndham denies

the allegations that: (i) it has falsely reported that Plaintiff owes Wyndham a balance; (ii) its



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transaction with Plaintiff was conducted by an “identity thief”; or (iii) it had any obligation to

modify information that it reported to Equifax regarding Plaintiff.        Except as specifically

answered hereinabove, the remainder of Paragraph 6 of the Complaint is denied for lack of

knowledge or information sufficient to form a belief.

        7.     Answering Paragraph 7 of the Complaint, it is denied that Plaintiff’s account with

Wyndham is fraudulent. The remainder of the allegations contained in Paragraph 7 of the

Complaint do not pertain to Wyndham and no response is required. To the extent that a response

is required, the remaining allegations contained in Paragraph 7 of the Complaint are denied for

lack of knowledge or information sufficient to form a belief.

        8.     Answering Paragraph 8 of the Complaint, it is denied that Plaintiff’s account with

Wyndham is fraudulent. The remainder of the allegations contained in Paragraph 8 of the

Complaint do not pertain to Wyndham and no response is required. To the extent that a response

is required, the remaining allegations contained in Paragraph 8 of the Complaint are denied for

lack of knowledge or information sufficient to form a belief.

        9.     Answering Paragraph 9 of the Complaint, it is admitted that the FCRA is a statute,

the content of which speaks for itself. Further answering Paragraph 9 of the Complaint, it is

denied that Plaintiff’s account with Wyndham is fraudulent. The remainder of the allegations

contained in Paragraph 9 of the Complaint do not pertain to Wyndham and no response is

required. To the extent that a further response is required, the remaining allegations contained in

Paragraph 9 of the Complaint are denied for lack of knowledge or information sufficient to form

a belief.

        10.    Answering Paragraph 10 of the Complaint, it is admitted that Plaintiff purports to

assert claims for certain damages. Further answering Paragraph 10 of the Complaint, it is denied



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that Plaintiff is entitled to recover any damages from Wyndham. The remainder of Paragraph 10

of the Complaint is denied.

                                            As to “Jurisdiction”

       11.      Answering Paragraph 11 of the Complaint, Wyndham admits that Plaintiff

purports to state a basis for jurisdiction, but denies that it violated the FCRA or engaged in any

other act or omission by which to establish jurisdiction in this Court, and therefore denies the

allegations contained in Paragraph 11 of the Complaint.

       12.     Answering Paragraph 12 of the Complaint, Wyndham admits that Plaintiff

purports to state a basis for venue, but denies that it had communications with Plaintiff in this

district. As Plaintiff has not specified which “Defendant” it contends conducts business in this

district, Wyndham denies that allegation due to lack of knowledge or information sufficient to

form a belief. The remainder of Paragraph 12 of the Complaint is denied.

                                           As to “Parties”

       13.     Answering Paragraph 13 of the Complaint, it is admitted upon information and

belief that Plaintiff is or was at one time a resident of Charlotte, North Carolina, and that Plaintiff

is an “individual” as such term is used in the definition of “consumer” set forth at 15 U.S.C.

§ 1681a(c).

       14.     The allegations contained in Paragraph 14 of the Complaint are admitted upon

information and belief.

       15.     The allegations contained in Paragraph 15 of the Complaint are denied for lack of

knowledge or information sufficient to form a belief.

       16.     The allegations contained in Paragraph 16 of the Complaint are denied for lack of

knowledge or information sufficient to form a belief.



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       17.     The allegations contained in Paragraph 17 of the Complaint are denied for lack of

knowledge or information sufficient to form a belief.

       18.     Answering Paragraph 18 of the Complaint, Wyndham admits that it is a

corporation, that it sometimes does business as “Worldmark by Wyndham,” and that it conducts

business in the State of Nevada. Except as admitted, Paragraph 18 is denied.

                                  As to “Factual Allegations”

       19.     The allegations contained in Paragraph 19 of the Complaint are denied for lack of

knowledge or information sufficient to form a belief.

       20.     Answering Paragraph 20 of the Complaint, it is denied that Plaintiff’s account

with Wyndham is fraudulent. The remaining allegations contained in Paragraph 20 of the

Complaint are denied for lack of knowledge or information sufficient to form a belief.

       21.     Answering Paragraph 21 of the Complaint, it is denied that Plaintiff’s account

with Wyndham is fraudulent. The remaining allegations contained in Paragraph 21 of the

Complaint are denied for lack of knowledge or information sufficient to form a belief.

       22.     The allegations contained in Paragraph 22 of the Complaint are denied for lack of

knowledge or information sufficient to form a belief.

       23.     The allegations contained in Paragraph 23 of the Complaint are denied for lack of

knowledge or information sufficient to form a belief.

       24.     The allegations contained in Paragraph 24 of the Complaint are denied for lack of

knowledge or information sufficient to form a belief.

       25.     Answering Paragraph 25 of the Complaint, it is denied that Plaintiff’s account

with Wyndham is fraudulent. The remaining allegations contained in Paragraph 25 of the

Complaint are denied for lack of knowledge or information sufficient to form a belief.



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       26.     Answering Paragraph 26 of the Complaint, it is admitted that the FCRA is a

statute, the content of which speaks for itself. The remaining allegations contained in Paragraph

26 of the Complaint are denied for lack of knowledge or information sufficient to form a belief.

       27.     Answering Paragraph 27 of the Complaint, it is denied that Plaintiff’s account

with Wyndham is fraudulent, or that Plaintiff is a victim of identity theft with respect to a

transaction involving Wyndham. The remaining allegations contained in Paragraph 27 of the

Complaint are denied for lack of knowledge or information sufficient to form a belief.

       28.     The allegations contained in Paragraph 28 of the Complaint are denied for lack of

knowledge or information sufficient to form a belief.

       29.     Answering Paragraph 29 of the Complaint, it is admitted that the FCRA is a

statute, the content of which speaks for itself. Further answering Paragraph 29, it is denied that

Plaintiff’s account with Wyndham is fraudulent, or that Plaintiff is a victim of identity theft with

respect to a transaction involving Wyndham. The remaining allegations contained in Paragraph

29 of the Complaint are denied for lack of knowledge or information sufficient to form a belief.

       30.     The allegations contained in Paragraph 30 of the Complaint are denied for lack of

knowledge or information sufficient to form a belief.

       31.     The allegations contained in Paragraph 31 of the Complaint are denied as to

Wyndham.      The remaining allegations contained in Paragraph 31 are denied for lack of

knowledge or information sufficient to form a belief.

                                         As to “Count I”

       32.     Wyndham realleges and incorporates herein by reference its answers to

Paragraphs 1-31 of the Complaint, as though more fully set forth herein.




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          33.   15 U.S.C. § 1681a(c) does not contain the definition of “consumer reporting

agency,” and the allegations of Paragraph 33 of the Complaint are therefore denied.

          34.   Answering Paragraph 34 of the Complaint, it is admitted that the FCRA is a

statute, the content of which speaks for itself.    To the extent that Plaintiff’s allegations in

Paragraph 34 vary from the requirements of the FCRA, those allegations are denied.

          35.   Answering Paragraph 35 of the Complaint, it is denied that Plaintiff’s account

with Wyndham is fraudulent, or that Plaintiff is a victim of identity theft with respect to a

transaction involving Wyndham. The remaining allegations contained in Paragraph 35 of the

Complaint are denied for lack of knowledge or information sufficient to form a belief.

          36.   Answering Paragraph 36 of the Complaint, it is denied that Plaintiff’s account

with Wyndham is fraudulent, or that Plaintiff is a victim of identity theft with respect to a

transaction involving Wyndham. The remaining allegations contained in Paragraph 36 of the

Complaint are denied for lack of knowledge or information sufficient to form a belief.

          37.   The allegations contained in Paragraph 37 of the Complaint do not pertain to

Wyndham, and no response is therefore required. To the extent that a response is required, the

allegations contained in Paragraph 37 of the Complaint are denied.

                                       As to “Count II”

          38.   Wyndham realleges and incorporates herein by reference its answers to

Paragraphs 1-37 of the Complaint, as though more fully set forth herein.

          39.   Answering Paragraph 39 of the Complaint, it is admitted that the FCRA is a

statute, the content of which speaks for itself.    To the extent that Plaintiff’s allegations in

Paragraph 39 of the Complaint vary from the requirements of the FCRA, those allegations are

denied.



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          40.   Answering Paragraph 40 of the Complaint, it is denied that Plaintiff’s account

with Wyndham is fraudulent, that Plaintiff is a victim of identity theft with respect to a

transaction involving Wyndham, or that any information regarding Plaintiff’s transaction with

Wyndham should have been altered or removed on the basis of purported identity theft or fraud,

the existence of which is denied. The remaining allegations contained in Paragraph 40 of the

Complaint are denied for lack of knowledge or information sufficient to form a belief.

          41.   Answering Paragraph 41 of the Complaint, it is denied that Plaintiff’s account

with Wyndham is fraudulent or that Plaintiff is a victim of identity theft with respect to a

transaction involving Wyndham. The remaining allegations contained in Paragraph 41 of the

Complaint are denied for lack of knowledge or information sufficient to form a belief.

          42.   The allegations contained in Paragraph 42 of the Complaint do not pertain to

Wyndham, and therefore no response is required. To the extent that a response is required, the

allegations contained in Paragraph 42 of the Complaint are denied.

                                       As to “Count III”

          43.   Wyndham realleges and incorporates herein by reference its answers to

Paragraphs 1-42 of the Complaint, as though more fully set forth herein.

          44.   Answering Paragraph 44 of the Complaint, it is admitted that the FCRA is a

statute, the content of which speaks for itself.    To the extent that Plaintiff’s allegations in

Paragraph 44 of the Complaint vary from the requirements of the FCRA, those allegations are

denied.

          45.   The allegations contained in Paragraph 44 of the Complaint do not pertain to

Wyndham, and therefore no response is required. To the extent that a response is required, the




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allegations contained in Paragraph 45 of the Complaint are denied for lack of knowledge or

information sufficient to form a belief.

       46.     The allegations contained in Paragraph 46 of the Complaint do not pertain to

Wyndham, and therefore no response is required. To the extent that a response is required, the

allegations contained in Paragraph 46 of the Complaint are denied for lack of knowledge or

information sufficient to form a belief.

       47.     Answering Paragraph 47 of the Complaint, it is admitted that the FCRA is a

statute, the content of which speaks for itself.   To the extent that Plaintiff’s allegations in

Paragraph 47 vary from the requirements of the FCRA, those allegations are denied.

       48.     The allegations contained in Paragraph 48 of the Complaint do not pertain to

Wyndham, and therefore no response is required. To the extent that a response is required, the

allegations contained in Paragraph 48 of the Complaint are denied for lack of knowledge or

information sufficient to form a belief.

       49.     The allegations contained in Paragraph 49 of the Complaint do not pertain to

Wyndham, and therefore no response is required. To the extent that a response is required, the

allegations contained in Paragraph 49 of the Complaint are denied for lack of knowledge or

information sufficient to form a belief.

       50.     The allegations contained in Paragraph 50 of the Complaint do not pertain to

Wyndham, and therefore no response is required. To the extent that a response is required, the

allegations contained in Paragraph 50 of the Complaint are denied for lack of knowledge or

information sufficient to form a belief.




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                                           As to “Count IV”

          51.   Wyndham realleges and incorporates herein by reference its answers to

Paragraphs 1-50 of the Complaint, as though more fully set forth herein.

          52.   Answering Paragraph 52 of the Complaint, it is admitted that the FCRA is a

statute, the content of which speaks for itself.      To the extent that Plaintiff’s allegations in

Paragraph 52 of the Complaint vary from the requirements of the FCRA, those allegations are

denied.

          53.   The allegations contained in Paragraph 53 of the Complaint do not pertain to

Wyndham, and therefore no response is required. To the extent that a response is required, the

allegations contained in Paragraph 53 of the Complaint are denied for lack of knowledge or

information sufficient to form a belief.

          54.   The allegations contained in Paragraph 54 of the Complaint do not pertain to

Wyndham, and therefore no response is required. To the extent that a response is required, the

allegations contained in Paragraph 54 of the Complaint are denied for lack of knowledge or

information sufficient to form a belief.

          55.   Answering Paragraph 55 of the Complaint, it is admitted that the FCRA is a

statute, the content of which speaks for itself.      To the extent that Plaintiff’s allegations in

Paragraph 55 vary from the requirements of the FCRA, those allegations are denied.

          56.   The allegations contained in Paragraph 56 of the Complaint do not pertain to

Wyndham, and therefore no response is required. To the extent that a response is required, the

allegations contained in Paragraph 56 of the Complaint are denied for lack of knowledge or

information sufficient to form a belief.




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          57.   The allegations contained in Paragraph 57 of the Complaint do not pertain to

Wyndham, and therefore no response is required. To the extent that a response is required, the

allegations contained in Paragraph 57 of the Complaint are denied for lack of knowledge or

information sufficient to form a belief.

          58.   The allegations contained in Paragraph 58 of the Complaint do not pertain to

Wyndham, and therefore no response is required. To the extent that a response is required, the

allegations contained in Paragraph 58 of the Complaint are denied for lack of knowledge or

information sufficient to form a belief.

                                           As to “Count V”

          59.   Wyndham realleges and incorporates herein by reference its answers to

Paragraphs 1-58 of the Complaint, as though more fully set forth herein.

          60.   Answering Paragraph 60 of the Complaint, it is admitted that the FCRA is a

statute, the content of which speaks for itself.      To the extent that Plaintiff’s allegations in

Paragraph 60 of the Complaint vary from the requirements of the FCRA, those allegations are

denied.

          61.   Answering Paragraph 61 of the Complaint, it is admitted upon information and

belief that Plaintiff asserted to one or more credit bureaus that he disputed the accuracy of

information reported by Wyndham concerning Plaintiff and his account with Wyndham. The

remainder of the allegations contained in Paragraph 61 of the Complaint are denied for lack of

knowledge or information sufficient to form a belief.

          62.   Answering Paragraph 62 of the Complaint, it is admitted that Wyndham received

notice that Plaintiff disputed the accuracy of certain information reported by Wyndham. Except

as admitted, the allegations of Paragraph 62 of the Complaint are denied.



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        63.     Answering Paragraph 63 of the Complaint, it is admitted that the FCRA is a

statute, the content of which speaks for itself.     To the extent that Plaintiff’s allegations in

Paragraph 63 vary from the requirements of the FCRA, those allegations are denied.

        64.     The allegations contained in Paragraph 64 of the Complaint are denied.

        65.     The allegations contained in Paragraph 65 of the Complaint are denied.

        66.     The allegations contained in Paragraph 66 of the Complaint are denied.

                                           As to “Count VI”

        67.     Wyndham realleges and incorporates herein by reference its answers to

Paragraphs 1-66 of the Complaint, as though more fully set forth herein.

        68.     Answering Paragraph 68 of the Complaint, it is admitted that Plaintiff purports to

assert “Count VI” of the Complaint as an “Individual and Class Claim Against Equifax.” The

allegations contained in Paragraph 68 of the Complaint do not pertain to Wyndham, and

therefore no response is required. To the extent that a response is required, the allegations

contained in Paragraph 68 of the Complaint are denied for lack of knowledge or information

sufficient to form a belief.

        69.     Answering Paragraph 69 of the Complaint, it is denied that any reference to

“Defendant” therein refers to Wyndham, as “Count VI” specifically states that the claim is

asserted against Equifax only. The allegations contained in Paragraph 69 of the Complaint do

not pertain to Wyndham, and therefore no response is required. To the extent that a response is

required, the allegations contained in Paragraph 69 of the Complaint are denied as to Wyndham,

and otherwise denied as to any other Defendants for lack of knowledge or information sufficient

to form a belief.




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       70.     The allegations contained in Paragraph 70 of the Complaint do not pertain to

Wyndham, and therefore no response is required. To the extent that a response is required, the

allegations contained in Paragraph 70 of the Complaint are denied for lack of knowledge or

information sufficient to form a belief.

       71.     Answering Paragraph 71 of the Complaint and all subparagraphs therein, it is

denied that any reference to “Defendant” or “Defendants” therein refers to Wyndham, as “Count

VI” specifically states that the claim is asserted against Equifax only. The allegations contained

in Paragraph 71 of the Complaint and all subparagraphs therein do not pertain to Wyndham, and

therefore no response is required. To the extent that a response is required, the allegations

contained in 71 of the Complaint, and all subparagraphs therein, are denied as to Wyndham, and

are otherwise denied as to any other Defendants for lack of knowledge or information sufficient

to form a belief.

       72.     15 U.S.C. § 1681a(c) does not contain the definition of “consumer reporting

agency,” and the allegations of Paragraph 72 of the Complaint are therefore denied.

       73.     Answering Paragraph 73 of the Complaint, it is admitted that the FCRA is a

statute, the content of which speaks for itself.    To the extent that Plaintiff’s allegations in

Paragraph 73 vary from the requirements of the FCRA, those allegations are denied.

       74.     Answering Paragraph 74 of the Complaint, it is denied that Plaintiff’s account

with Wyndham is fraudulent or that Plaintiff is a victim of identity theft with respect to a

transaction involving Wyndham. The remaining allegations contained in Paragraph 74 of the

Complaint are denied for lack of knowledge or information sufficient to form a belief.

       75.     Answering Paragraph 75 of the Complaint, it is denied that Plaintiff’s account

with Wyndham is fraudulent or that Plaintiff is a victim of identity theft with respect to a



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transaction involving Wyndham. The remaining allegations contained in Paragraph 75 of the

Complaint are denied for lack of knowledge or information sufficient to form a belief.

        76.     The allegations contained in Paragraph 76 of the Complaint are denied for lack of

knowledge or information sufficient to form a belief.

        77.     Answering Paragraph 77 of the Complaint, it is denied that Plaintiff’s account

with Wyndham is fraudulent or that Plaintiff is a victim of identity theft with respect to a

transaction involving Wyndham. The remaining allegations contained in Paragraph 77 of the

Complaint are denied for lack of knowledge or information sufficient to form a belief.

        78.     The allegations contained in Paragraph 78 of the Complaint are denied for lack of

knowledge or information sufficient to form a belief.

        79.     The allegations contained in Paragraph 79 of the Complaint do not pertain to

Wyndham, and therefore no response is required. To the extent that a response is required, the

allegations contained in Paragraph 79 of the Complaint are denied for lack of knowledge or

information sufficient to form a belief.

        80.     Answering Paragraph 80 of the Complaint, it is admitted that Plaintiff has

requested a trial by jury on all issues so triable.

        81.     All allegations contained in the Complaint that are not expressly admitted,

qualified, or explained above, including Plaintiff’s Prayer for Relief, are denied.

                                        SECOND DEFENSE

        Wyndham denies that Plaintiff has suffered any damage or injury. Alternatively, to the

extent that Plaintiff alleges that he was harmed or injured, such harm or injury was caused, in

whole or in part, by persons or factors unrelated to Wyndham. Further, Wyndham denies that it

directed, authorized, or ratified any such action.



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                                         THIRD DEFENSE

       Wyndham specifically denies that any act or omission on its part was the actual cause in

fact of any injury or damage to Plaintiff.

                                        FOURTH DEFENSE

       Wyndham specifically denies that any act or omission on its part was the proximate cause

of any injury or damage to Plaintiff.

                                         FIFTH DEFENSE

       The information reported by Wyndham regarding Plaintiff and/or Plaintiff’s account with

Wyndham was, at the time it was reported, true to the best of Wyndham’s knowledge.

Wyndham pleads the truth of its reporting in bar of Plaintiff’s claims against it.

                                         SIXTH DEFENSE

       Wyndham complied with its duties and obligations under the FCRA with respect to

Plaintiff’s claimed dispute regarding information reported by Wyndham, and performed a

reasonable investigation in relation thereto.

                                        SEVENTH DEFENSE

       Without waiving any other defenses, if it is determined that Wyndham is in any way

liable to Plaintiff, which has been and is again denied, then it is alleged, upon information and

belief, that someone other than Wyndham was negligent and that any or all of these other acts of

negligence were a proximate cause or the proximate cause of any injuries and/or damages

alleged to have been received by Plaintiff, and that such negligence constituted a new and

unforeseeable intervening and superseding negligence and intervening and superseding

proximate cause of Plaintiff’s alleged injuries and damages, the existence of which have been

and are again denied, and such intervening negligence and superseding negligence insulated any



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negligence on the part of Wyndham; and the affirmative defense of intervening and superseding

negligence is pleaded in bar to any recovery by Plaintiff of Wyndham in this action.

                                       EIGHTH DEFENSE

         Without waiving any other defenses, if it is determined that Wyndham is in any way

liable to Plaintiff, which has been and is again denied, then it is alleged, upon information and

belief, that someone other than Wyndham performed subsequent intentional acts, and that any or

all of these subsequent intentional acts were a proximate cause or the proximate cause of any

injuries and damages alleged to have been received by Plaintiff, and that such subsequent

intentional acts constituted a new intervening and superseding proximate cause of Plaintiff’s

alleged injuries and damages, the existence of which have been and are again denied, and such

new and unforeseeable intervening and superseding subsequent intentional acts insulated any

negligence on the part of Wyndham; and the affirmative defense of intervening and superseding

subsequent intentional acts is pleaded in bar to any recovery by Plaintiff of Wyndham in this

action

                                        NINTH DEFENSE

         Plaintiff has unclean hands, which doctrine is hereby pleaded in bar of and as an

affirmative defense to Plaintiff’s claims and action herein.

                                       TENTH DEFENSE

         Plaintiff’s claims are barred, in whole or in part, to the extent that Plaintiff failed to

satisfy any conditions precedent required to assert such claims, including, but not limited to,

failing to follow any procedures required under the FCRA.




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                                      ELEVENTH DEFENSE

       Plaintiff’s claim against Wyndham is barred in whole or in part by his own comparative

and/or contributory negligence.

                                      TWELFTH DEFENSE

       Plaintiff’s claims are barred, in whole or in part, to the extent that Plaintiff failed to

mitigate his damages, the existence of which have been denied.

                                     THIRTEENTH DEFENSE

       If Wyndham is determined to be liable to Plaintiff for any acts and/or omissions, which

has been and is again denied, then such acts and/or omissions fail to rise to the level required to

sustain an award of punitive damages.

                                     FOURTEENTH DEFENSE

       If Wyndham is determined to be liable to Plaintiff for any acts and/or omissions, which

has been and is again denied, then an award of punitive damages against it is unwarranted under

the circumstances in this case, and would violate the Fifth, Eighth, and Fourteenth Amendments

of the United States Constitution.

                                     FIFTEENTH DEFENSE

       Upon information and belief, Plaintiff’s claim against Wyndham was asserted by Plaintiff

in bad faith or for the purposes of harassment of Wyndham, and Wyndham reserves the right to

request its attorney’s fees pursuant to 15 U.S.C. § 1681n(c) and/or 15 U.S.C. § 1881o(b).

                                     SIXTEENTH DEFENSE

       Wyndham expressly reserves any additional and further defenses as may be revealed

during discovery or upon receipt of additional information.




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                                            COUNTERCLAIM
                                            (Breach of Contract)


        Pursuant to Rule 13 of the Federal Rules of Civil Procedure, the Defendant Wyndham

Resort Development Corporation (“Wyndham”), by and through counsel, for its Counterclaim

against the Plaintiff, states as follows:

        1.      Wyndham is a corporation organized and existing under the laws of the State of

Oregon, with its principal place of business located in the State of Florida and a business location

in the State of Nevada.

        2.      Upon information and belief, Plaintiff and Counter-Defendant Dana Davis

(“Davis”) is a citizen and resident of Charlotte, Mecklenburg County, North Carolina.

        3.      This Court has supplemental jurisdiction over this Counterclaim pursuant to 28

U.S.C. § 1367, on grounds that the claims herein form part of the same case or controversy as

alleged in the Plaintiffs’ Complaint.

        4.      Davis is subject to the personal jurisdiction of this Court on the grounds that he is

a citizen and resident of Charlotte, Mecklenburg County, North Carolina.

        6.      Venue is proper under 28 U.S.C. § 1391, on the grounds that Davis is physically

located in this District.

        7.      On June 10, 2016, Davis entered into a valid and enforceable Retail Installment

Contract Vacation Owner Agreement (the “Agreement”) with Wyndham, whereby Wyndham

agreed to sell to Davis, and Davis agreed to purchase from Wyndham, ten thousand (10,000)

vacation credits (the “Credits”) for use at certain vacation resorts operated by Wyndham.

        8.      Under the terms of the Agreement, Davis agreed to purchase the Credits for the

gross purchase price of $33,500.00, less certain discounts and credits and including a processing


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fee, for a total cash price of $24,949.00.

       9.      Davis made an initial down payment on the Credits in the amount of $3,742.35,

and financed the remaining amount owed to Wyndham under the Agreement.

       10.     Pursuant to the Agreement, Davis agreed to pay for the balance of the purchase

price by making one hundred twenty (120) monthly payments of $329.25 (each, a “Credit

Payment”) to Wyndham.

       11.     In addition to the foregoing, under the terms of the Agreement Davis agreed to

pay annual dues for the Credits in the beginning yearly amount of $752.43, paid in monthly

installments of $62.70 (each, a “Dues Payment”).

       12.     Following Davis’ execution of the Agreement, Davis paid two (2) Dues Payment

installments. Thereafter, Davis failed to pay any further Dues Payments when due under the

Agreement.

       13.     Following Davis’ execution of the Agreement, Davis failed to pay any Credit

Payments when due under the Agreement.

       14.     As a result of Davis’ failure to make payments when due under the Agreement

and breach thereof, Wyndham declared Davis in default thereunder, accelerated the balance due

under the Agreement and declared the entire balance immediately due and payable.

       15.     Wyndham is the current owner and holder of all rights, title, and interest in and to

the Agreement and all documents related to the Agreement.

       16.     All conditions precedent under the Agreement have been satisfied by Wyndham,

and Wyndham has fully performed its obligations under the Agreement.

       17.     Wyndham has made demand upon Davis for payment under the Agreement, but

Davis has failed and refused, and continues to refuse, to make payment as requested.



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        18.    After the proper application of any payments or other credits due Davis, if any,

Davis remains indebted to Wyndham under the Agreement for the sum of no less than

$21,206.65, plus interest thereon.

        19.    As a direct and proximate result of Davis’ breach of the Agreement, Wyndham is

entitled to recover the entire balance due thereunder from Davis, with all interest due thereon.



        WHEREFORE, having answered each and every allegation contained in Plaintiff’s

Complaint, and asserting a Counterclaim against Plaintiff, Wyndham makes the following prayer

for relief:

        1.     That Plaintiff have and recover nothing from Wyndham by way of his Complaint;

        2.     That it have and recover a judgment against Plaintiff as set forth in its

               Counterclaim;

        3.     That the costs of this matter be taxed to the Plaintiff, including attorneys’ fees;

        4.     That the Court award appropriate costs and fees to Wyndham; and

        5.     For such other and further relief as the Court may deem just and proper.

               Respectfully submitted, this the 24th day of October, 2018.


                                              s/ James C. Smith
                                              James C. Smith, N.C. Bar No. 8510
                                              s/ C. Grainger Pierce, Jr.
                                              C. Grainger Pierce, Jr., N.C. Bar No. 27305
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                                 CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing pleading or paper with the Clerk

of the court using the CM/ECF system, and I hereby certify that the foregoing document was

duly served upon counsel for the Plaintiff in accordance with the provisions of Rule 5 of the

Federal Rules of Civil Procedure by depositing it in the United States Mail, first-class postage

prepaid, addressed as follows:

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              Credit Solutions Corporation
              404 Camino del Rio, Suite 400
              San Diego, CA 92108

              This the 24th day of October, 2018.

                                            s/ C. Grainger Pierce, Jr.
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